                                                                          FILED
                    UNITED STATES COURT OF APPEALS                         OCT 22 2014

                                                                       MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                       U.S. COURT OF APPEALS




PETRO STAR, INC.,                               No. 13-35007

              Plaintiff - Appellant,            D.C. No. 3:11-cv-00064-RRB
                                                District of Alaska,
  v.                                            Anchorage

BP OIL SUPPLY CO. and BP
PRODUCTS NORTH AMERICA, INC.,                   ORDER

              Defendants - Appellees.


Before: WALLACE, GRABER, and WARDLAW, Circuit Judges.

       Judges Wardlaw and Graber voted to deny appellee’s petition for rehearing,

and Judge Wallace voted to grant the petition. The petition for rehearing is

therefore DENIED.

       IT IS SO ORDERED.




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